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                   Exhibit 08
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig "Deepwater           *           MDLNO.2179
   Horizon" in the Gulf of Mexico, on                *
   April 20, 2010                                    *           SECTION J


                                                     *           HONORABLE CARL J.
                                                     *           BARBIER
                                                     *
                                                     *           MAGISTRATE JUDGE
                                                     *           SHUSHAN



                        DECLARATION OF JAMES L. HENLEY, JR.

        I, James L. Henley, Jr., do hereby declare as follows:

        1.      I make this declaration in support of in support of the BP Defendants'

interpretation of the Business Economic Loss framework of the Economic and Property

Damages Settlement Agreement with respect to the meaning of "revenue" and proper calculation

of "Variable Profit." This declaration is based upon my own personal knowledge and experience

except where otherwise indicated, and if called to testify I could testify to the matters set forth in

this declaration.

        2.      I am an independent expert retained by counsel for BP Exploration & Production

Inc. and BP America Production Company (collectively, "BP"). I did not assist and was not

involved in any way in the negotiation, drafting, development, or revision of the Settlement or

the compensation frameworks incorporated in the Settlement Agreement. Nor have I provided

any advice or consultation to BP in connection with its defense of the above-captioned lawsuit or

any other matter relating to the Deepwater Horizon oil spill ("DWH Spill").

        3.      I submitted a declaration on August 13, 2012 attached as Exhibit 10 in support of

final approval of the Deepwater Horizon Economic and Property Damages Settlement
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Agreement, as amended (the "Settlement") ("August Declaration") (Rec. Doc. 7114-11). That

declaration set forth my professional qualifications and my additional relevant experience. I also

submitted a declaration on October 22, 2012 rebutting various objections to the Settlement

("October Declaration") (Rec. Doc. 7731-3).

        4.     I am a certified public accountant and attorney licensed and in good standing in

Mississippi. Additionally, I have obtained the CFF (Certified in Financial Forensics) designation

from the American Institute of Certified Public Accounting ("AICPA"). In addition to operating

a private practice, I also have served as a United States Chapter 13 Bankruptcy Trustee for the

Southern District of Mississippi since March 2000. I also have served as an expert witness in

connection with business disputes, including those involving business interruption claims and

lost profits. In connection with my private practice, work as a Bankruptcy Trustee, and expert

witness, I am familiar with preparation of individual and business tax returns, bankruptcy filings,

business records and accounting, and analysis of damages. A copy of my curriculum vitae is

attached as Exhibit A.

        5.     I am also a pastor at Fresh Start Christian Church in Jackson, Mississippi, a part

of Fresh Start Ministries, Inc. In the wake of Hurricane Katrina, the church established a

charitable fund for the benefit of victims of Hurricane Katrina. I served as administrator of the

fund. In that capacity, I was responsible for developing eligibility criteria and documentation

requirements for applicants for benefits from the fund, and for reviewing applications for

benefits.

        6.     In this declaration, I address the Claims Administrator's January 15, 2013 policy

decision regarding the implementation of the Business Economic Loss ("BEL") framework, the

Court's Order on Review of Issue from Panel (Matching of Revenue and Expenses) dated March
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5, 2013, and submissions by BP and Class Counsel regarding the Claims Administrator's policy

decisions. As discussed below, the Claims Administrator has adopted a policy, now affirmed by

the Court, that fails to accurately measure the monthly revenue and variable profits of BEL

claimants. Such an approach is contrary to my understanding of how the BEL framework would

work as set forth in my prior declarations, which noted that the BEL framework is consistent

with standard lost profits methodologies.

       7.      In connection with preparing this declaration, I have reviewed and considered the

entire record including, but not limited to, the following documents listed in Exhibit B.

       8.      After review of Class Counsel's submissions, BP's submissions and Judge

Barbier's opinion related to the Claim Administrators policy on the BEL's framework on making

claimants whole for lost profits I have the opinions set forth below.

       9.      I have reviewed BP's In Camera Motion to Reverse And Set Aside The Claims

Administrator's January 15, 2013 Policy Decision Concerning The Business Economic Loss

Framework and the exhibits attached thereto. BP's interpretation of the BEL framework is

consistent with standard and accepted lost profit analysis used by accountants and with standard

definitions understood by accountants for the terms "revenue," "expenses" and "profit." I have

reviewed the expert declarations attached to BP's In Camera Motion, and I agree and endorse the

analyses set forth in those declarations. Those expert declarations elaborate on the opinions I

offer in this declaration and which set forth additional reasons the Claims Administrator's

January 15, 2013 Policy Decision is flawed and contrary to well-established principles of

accounting and lost profits analysis.

       10.     The Claims Administrator's Policy Decision approved by the Court is not

consistent with the standard and accepted lost profit analysis upon which the BEL Framework is
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based. See Rec. Doc. 7114-11 |]f 6, 26-27. By focusing on monthly cash receipts and cash

payments recorded in financial statements, instead of revenues earned from goods or services

provided during the month and the corresponding expenses incurred to generate those revenues,

the Claims Administrator's Policy Decision substitutes a net cash flow analysis to determine lost

profits. That is not a standard methodology. Indeed, I am unaware of such a methodology ever

being used in lost profits analysis. The Claims Administrator's Policy Decision will result in

systematic payment of artificial losses to BEL claimants.

       11.     The distinction between cash flow and profit and loss is fundamental in

accounting. I learned in my first accounting class in college that financial statements include not

only a balance sheet and a profit and loss statement but also a cash flow statement. They are

different things. Cash flows are important for understanding a company's ability to pay for

things in the short term. By measuring cash inflows and payments, companies monitor their

ability to maintain operations by paying vendors and employees. Profits, in contrast, measure

the net inflows and outflows of not just cash, but all assets and liabilities. Profits thus measure

economic performance; cash flow does not.        From an economic standpoint, it is irrelevant

whether a transaction affects cash immediately or in the future. Profits capture changes in all

assets and liabilities (not just cash), and therefore are the proper way to measure economic

performance and compare performance between comparable periods.

       12.     The Claims Administrator's approach simply ignores this distinction as well as

the plain reading of Settlement Agreement Exhibit 4A TJ4, which requires the submission of

"monthly profit and loss statements (and/or other financial records) as they were prepared in the

normal course of business." The Settlement Agreement's language on profit and loss statements
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focuses on differences in profit during defined periods (consistent with standard damage

analysis), not mere differences in cash flow, which often simply reflect timing differences.

       13.     The information required to determine monthly profit and loss is readily available

to claimants and, if not contained in the financial statements submitted may be sought by the

Claims Administrator pursuant to Exhibit 4A ][4 ("Claims Administrator . . . may request source

documents"). My first accounting job in college was at an engineering construction firm. My job

was to develop their job cost accounting system. Later on at IBM one of the primary products I

worked with was CMAS (Construction Management Accounting Software). What I learned early

on and confirmed from ongoing experience is that the survival of any construction or

manufacturing company is based on its ability to determine profitability by job or project. As a

result, alternative documents measuring revenues and corresponding expenses to determine

profitability are maintained in the ordinary course of business. This ensures that regardless of

the period or periods in which expenditures and cash receipts take place those items which

correspond to that project are matched against each other for determination of profit.

Measurements of this kind directly affect how future projects are evaluated and how those jobs

should be bid.    This practice is basic to construction, manufacturing, distribution and any

operating business regardless of whether the general ledger is maintained on an accrual or cash

basis - the revenues and corresponding expenses of a specific job are matched to determine if,

where and how the company is making money.. Similar records are maintained in both farming

and legal business operations.

       14.     The only way to determine actual lost profit is to identify when revenue is earned

and match that revenue to corresponding expense items as I believed the BEL Framework

required when I submitted my initial declarations.       It never occurred to me that the BEL
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Framework would be misinterpreted to permit or require comparisons of net cash flow involving

unrelated transactions rather than profit; such an approach is contrary to well-established norms

in accounting and in calculating lost profits.         I am certain that the Settlement Program

accountants from PricewaterhouseCoopers and Postlethwaite & Netterville are capable of

identifying for BEL claimants when revenue was earned and of matching revenue with

corresponding expenses as the BEL framework requires because accountants are trained to do

this and such analysis is standard for calculating lost profits.

        I declare under penalty of perjury that the foregoing is a true and correct statement of my

opinions and analysis.


        Executed this /j&ay of Sr/A&Cti, 2013 in
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                                          EXHIBIT A

                        James L. Henley, Jr., J.D., CPA, CFF
            (Certified Public Accountant - Certified in Financial Forensics)
                                       P.O. Box 31464
                               Jackson, Mississippi 39286-1464
EDUCATION:

     Doctor of Jurisprudence with Special Distinction, Mississippi College School of Law
     May 14, 1994
     B.B.A. Accounting, Millsaps College, May 1983
     C.P.A. License 3098 - April 26, 1985
     Mississippi State Bar License 9909 - September 2004

LAW EMPLOYMENT HISTORY:

     The Law Office of James L Henley, Jr.
     P.O. Box 31464
     Jackson, Mississippi 39286-1464
     December 20, 1995 - Present

     Butler, Snow, O'Mara, Stevens & Cannada, PLLC
     Deposit Guaranty Plaza
     Jackson, Mississippi 39201
     August 16, 1994 - December 19, 1995

FINANCIAL EMPLOYMENT HISTORY:

     Currently: Chapter 13 Trustee, U.S. District for the Southern District of Mississippi
     Appointment Effective: March 1, 2000
     Administrator of Chapter 13 Bankruptcy filings in the United States Bankruptcy Court for the
     Southern District of Mississippi.
     Analysis of financial condition of Chapter 13 Plaintiffs.
     March 2000 - Present

     Currently: Henley & Company, CPA's
     P.O. Box 31464, Jackson, MS 39286-1464
     Position: Partner
     Work Experience: Tax and business consultation, review, compilations and analysis of various
     business areas of clients. Clients include HMO's medical clinics, physicians, pharmacists,
     podiatrist, dentists, attorneys, and musicians.
     December 1991 - Present

     Department of Justice — Office of United States Trustee
     100 W. Capitol Street, Suite 706, Jackson, MS 39269
     Position: Bankruptcy Analyst
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     Work Experience: Examination/analysis of financial information, disclosure statements and plans
     in Chapter 11 cases. Supervision and monitoring of performance of Chapter 7 and 13 trustees via
     report reviews and on site reviews.
     November 1989 - May 1992

     Performance Evaluation Expenditure Review Committee
     Joint Legislative Investigative Committee
     P.O. Box 1204, Jackson, MS 39205
     Position: Senior Analyst
     Work Experience: Investigation, analysis and write-up of various governmental
     entities who received funding from State of Mississippi. Supervision of staff on
     projects. Revenue and cost projections of proposed legislation.
     May 1988-October 1989

     Arthur Anderson & Co., CPA's
     201 St. Charles Ave, Suite 4500, New Orleans, LA 70170
     Position: Semi-Senior, Audit Division
     Work Experience: Audits, reviews and compilations of various industries. Primary
     areas were (1) Financial Institution audits and, (2) Southern Baptist Hospital audit
     and review of compliance with construction bond requirements as they related to
     cost reimbursements.
     May 1983-August 1985

OTHER EMPLOYMENT HISTORY:

     IBM
     Grand Rapids, Michigan
     Position: Systems Analyst
     Work Experience: Analysis and review of various industry financial accounting
     systems. Development and implementation of software solutions to assist
     management in the evaluation of economic results related to financial operations.
     Development and presentation of financial solutions. Development and
     implementation of system conversions.
     August 1985 - August 1987

     Jackson State University — Adjunct Instructor of Entrepreneurship, Business Law
     and Collective Bargaining.

     Tougaloo College — Adjunct Instructor of Accounting Principles, Advanced
     Accounting and Auditing.

     Jackson Public Schools — Adult Learning Instructor of Introduction to Computers
     and Small Business Taxes.

ORGANIZATIONS:

     American Bar Association
     Mississippi Bar Association
     Magnolia Bar Association (Past President)
     Magnolia Bar Foundation (Past President)
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   Mississippi Society of Certified Public Accountants
   American Institute of Certified Public Accountants
   Omega Psi Phi Fraternity
   Board of Directors of Metropolitan Jackson YMCA, Inc. (Former Treasurer &
   Executive Board Member)
   Board of Directors of Bethany Christian Services, Inc. (Former)
   Leadership Jackson - Class of 1996
   Fresh Start Ministries, Inc. - President
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                              Exhibit B
         MATERIALS AND INFORMATION REVIEWED AND CONSIDERED

•   Deepwater Horizon Economic and Property Damages Settlement As Amended On May 2,
    2012 (Rec. Doc. 6430-1) and Exhibits 4A-E (Rec. Doc. 6430-2)

•   Class Counsel's December 16, 2012 Memorandum to the Claims Administrator

•   Court's December 21, 2012 Order and Reasons Granting Final Approval (Rec. Doc. 8138)

•   BP's January 8, 2013 Response To Class Counsel's December 16, 2012 Memorandum

•   BP's January 11, 2013 Further Submission to the Claims Administrator in Response to Class
    Counsel's December 16, 2012 Memorandum

•   The Claims Administrator's January 15, 2013 policy decision concerning the Business
    Economic Loss Framework

•   The Claims Administrator's January 16, 2013 Referral of Issue from Panel (Matching
    Revenue and Expenses)

•   BP's In Camera Motion To Reverse And Set Aside The Claims Administrator's January 15,
    2013 Policy Decision Concerning The Business Economic Loss Framework dated February
    18, 2013 and all of its exhibits and declarations

•   Class Counsel's Opposition To BP's Motion For Reconsideration dated February 18, 2013
    and all of its exhibits and declarations

•   The Court's Review of Issue from Panel (Matching of Revenue and Expenses) dated March
    5, 2013 (Rec. Doc. 8812)
